                      Case 2:25-bk-00022-FMD              Doc 4          Filed 01/08/25     Page 1 of 1




                                          United States Bankruptcy Court
                                      Middle District of Florida, Ft. Myers Division
 In re   American Mariculture, Inc.                                                        Case No.
                                                               Debtor(s)                   Chapter    11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for American Mariculture, Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



 None [Check if applicable]




January 8, 2025                                  /s/ Scott A. Stichter
Date                                             Scott A. Stichter
                                                 Signature of Attorney or Litigant
                                                 Counsel for American Mariculture, Inc.
                                                 Stichter, Riedel, Blain & Postler, P.A.
                                                 110 E. Madison St.
                                                 Suite 200
                                                 Tampa, FL 33602
                                                 (813) 229-0144 Fax:(813) 229-1811
                                                 sstichter@srbp.com
